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199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET / HTTP/1.1" 200 2616 "-" "Mozilla/5.0 (Windows
NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET /themes/pmahomme/jquery/jquery-ui-
1.8.custom.css HTTP/1.1" 200 30846 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64)
AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET
/phpmyadmin.css.php?server=1&lang=en&collation_connection=utf8_general_ci&token=451ca1a827cda
1c8e80d0c0876e29ecc&js_frame=right&nocache=3988383895 HTTP/1.1" 200 41724
"http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET /js/update-location.js?ts=1329568005 HTTP/1.1"
200 758 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET /js/cross_framing_protection.js?ts=1329568005
HTTP/1.1" 200 331 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36
(KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET /js/functions.js?ts=1329568005 HTTP/1.1" 200
31563 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:36 +0000] "GET /js/jquery/jquery-1.4.4.js?ts=1329568005
HTTP/1.1" 200 78268 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64)
AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:37 +0000] "GET /js/jquery/jquery.qtip-1.0.0.min.js?ts=1329568005
HTTP/1.1" 200 38434 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64)
AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:58:37 +0000] "GET
/js/messages.php?lang=en&db=&collation_connection=utf8_general_ci&token=451ca1a827cda1c8e80d0
c0876e29ecc HTTP/1.1" 200 4954 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64)
AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:03 +0000] "GET /print.css HTTP/1.1" 200 1064
"http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:03 +0000] "GET /themes/pmahomme/img/logo_right.png
HTTP/1.1" 200 4756 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36
(KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:03 +0000] "GET /themes/pmahomme/img/b_help.png HTTP/1.1"
200 731 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:03 +0000] "GET /themes/pmahomme/img/input_bg.gif HTTP/1.1"
200 162 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:03 +0000] "GET /themes/pmahomme/img/s_notice.png HTTP/1.1"
200 619 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:04 +0000] "GET /favicon.ico HTTP/1.1" 200 18902 "-" "Mozilla/5.0
(Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110
Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:41 +0000] "GET / HTTP/1.1" 200 2527 "-" "Mozilla/5.0 (Windows
NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:41 +0000] "GET
/js/messages.php?lang=en&db=&token=a1c363cb2394cfc9ead32d9f359f41b8 HTTP/1.1" 200 4960
"http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:16:59:41 +0000] "GET
/phpmyadmin.css.php?server=1&token=a1c363cb2394cfc9ead32d9f359f41b8&js_frame=right&nocache=
3988383895 HTTP/1.1" 200 41724 "http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64)
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AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:17:00:39 +0000] "POST /index.php HTTP/1.1" 200 2527
"http://193.107.86.49/" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:17:00:40 +0000] "GET
/phpmyadmin.css.php?server=1&token=261efa11b7563de2c7200e5a18a6dac9&js_frame=right&nocache
=3988383895 HTTP/1.1" 200 41724 "http://193.107.86.49/index.php" "Mozilla/5.0 (Windows NT 6.1;
WOW64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/27.0.1453.110 Safari/537.36"
199.170.71.133 - - [11/Jun/2013:17:00:40 +0000] "GET
/js/messages.php?lang=en&db=&token=261efa11b7563de2c7200e5a18a6dac9 HTTP/1.1" 200 4954
"http://193.107.86.49/index.php" "Mozilla/5.0 (Windows NT 6.1; WOW64) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/27.0.1453.110 Safari/537.36"
